                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    DANVILLE DIVISION


                                    CASE NUMBER:      L/ 1r01.21l-625J
                                    CASE NAME:    Ub v. })IU/l1-




    Juror Number: - - - - -             Date:   / /,-/ 2-   /   7   Time:    /   5' ,' S--'f
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